Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 1 of 6




         Exhibit B
Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 2 of 6
Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 3 of 6
Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 4 of 6
               Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 5 of 6


Olivia Johann

From:                Robert Hung 孔繁玨 <robert.hung@klccpa.com>
Sent:                Friday, June 14, 2019 12:56 PM
To:                  Steven Seiden
Cc:                  Robert Seiden; guo; Frank Li; Matt Mathison; nfrancis csilegal.com; randall.arthur;
                     Ryan.Middlemas@kobrekim.com.hk; Lauren Lau 劉胡桂琼; Karina Lee 李麗霞
Subject:             LKM - SCB bank records (part 1/2)
Attachments:         LKM - SCB bank statement (201501 - 201802).pdf; LKM - SCB bank statement (201803 - 201903).pdf;
                     LKM - SCB account vouchers (201501 - 201802).pdf; LKM - SCB account vouchers (201803 -
                     201903).pdf; LKM - SCB account opening documents.pdf; LKM HK - SCB bank statement (201501 -
                     201802).pdf; LKM HK - SCB bank statement (201903).pdf; LKM HK - SCB account vouchers (201501 -
                     201802).pdf; LKM HK - SCB account aouchers (201803 - 201903).pdf; HH-Medic - SCB Account
                     Opening Application Form.pdf; HH-Medic - SCB bank statement (201803 - 201903).pdf


Dear Steve

We have received the following bank records from SCB:

    1. Link Motion Inc. and its subsidiaries for the year ended March 2018 to March 2019 (date of appointing Receivers)
        The latest bank balances are as follow:

         Company name                Account                   Currency            Balance          USD Note
                                                                                              equivalent
         Link Motion Inc                                          HKD             29,099.57     3,730.71 Already
                                                                                                         transferred to
                                                                  USD         177,612.86      177,612.86 the US
                                                                                                         Receiver’s
                                                                  RMB              3,331.64       482.85 escrow account.

         Link Motion                                              HKD       1,342,975.38      172,176.33
         International Limited
                                                                  USD              2,435.82      2,435.82

         HH-Medic Limited                                         USD              (156.46)      (156.46)

                                                                  RMB                     -                -

         FL Mobile Inc.                                           USD             15,225.06    15,225.06

         FL Mobile Hong Kong                                      USD                61.46          61.46
         Limited
                                                                  HKD                     -                -


        There is a balance of US$15,225 in the bank account of FL Mobile Inc., please let us know if you would like us to
        wire the funds to the US Receiver's escrow account.

    2. Link Motion Inc and Link Motion International Limited for the period from 1 Jan 2015 to 28 Feb 2018
       - We are reviewing the records and will revert asap.
Due to the large file size, the bank records will be send in 2 separate emails.


                                                              1
                Case 1:18-cv-11642-VM-VF Document 376-2 Filed 11/18/22 Page 6 of 6
Please find attached bank records of the following companies:
     Link Motion Inc.
     Link Motion International Limited
     HH-Medic Limited
Kind regards,
Robert Hung | Assistant Manager
t.: (852) 2110 8791 | e.: robert.hung@klccpa.com




                                                           2
